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t UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

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SECTION:

nw nw MA'i"i‘EiiT CERTAIN RECORDS oF
WLTHIE WDEREAWRUREAU oF INVESTIGATIoN

NO. 10-4343-“E”, TWENTY FOURTH JUDICIAL
DISTRICT COURT FOR THE PARISH OF

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BoUDoIN v. WARDEN DARRYL vANNoY, )
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JEFFERSON, sTATE oF LOUISIANA )

STIPULATED PROTECTIVE ORDER FOR FBI RECORDS AND TESTIMONY
It is hereby ordered, pursuant to Fed. R. Civ. P. Rule 26(c),that this Order shall govern the
production and use of any records, documents and/or information ("Records") initially prepared
or currently maintained by the Federal Bureau of Investigation ("FBI") and permit certain
testimony, if authorized as specified beloW. The FBI Records may contain privileged and/or
personally identifiable information and must be protected from unwarranted disclosure. These
Records are believed to be maintained in a system of records exempt from the mandatory
disclosure provisions of the Privacy Act and the information contained Within the Records may

also be exempt from the mandatory disclosure provisions of the Freedorn of Inforrnation Act.
1. This action relates to a demand made on behalf of Bryant Boudoin, to obtain documents
and testimony from the FBI in connection With litigation currently pending in the TWenty Fourth
Judicial District Court for the Parish of Jefferson, State of Louisiana (the "Underlying Action").
The Underlying Action, Bryant Boudoin v. Warden Darryl Vannoy, 10,4343 “E”, is a post-
conviction challenge to Mr. Boudoin’s state court conviction and life sentence, entered in the
TWenty Fourth Judicial District Court on February 17, 2011 (State v. Bryant Boudoin, 10,4343
“E”). Mr. Boudoin is represented in the underlying action by Michael l\/I. Magner (J ones Walker,

LLP), and Emily Maw, Richard Davis and Charell Arnold (Innocence Proj ect NeW Orleans).

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2. The Underlying Action alleges, amongst other things, that Mr. Boudoin is innocent of the
murder of Elizabeth McDaniel on May 26, 2008_the crime for which he was convicted in 201 l-
and that certain evidence, including the results of DNA testing, do and can prove his innocence.
That evidence includes documentary and surveillance evidence of activities at 5257 Warwick
Drive, Marrero, LA 70072, a house in close proximity to l\/ls. McDaniel’s home, where she was
attacked. 5257 Warwick Drive was occupied, in 2008, by William Donohue.

3. Following an FBI surveillance of 5257 Warwick Drive and an investigation of William
Donohue in 2007 and 2008, led by Special Agent Todd Schleim, Donohue was arrested on or about
May 30, 2008. He was convicted, pursuant to a guilty plea, and sentenced to two years, suspended
on active probation, on June 19, 2008 in the matter captioned State v. Donohue, 08-1779 “B”,
TWenty Fourth J udicial District Court for the Parish of Jefferson (“Donohue Criminal Action”).
4. In connection with the investigation, the undersigned Assistant United States Attorney
hereby releases to Michael M. Magner, Emily Maw, Richard Davis and Charell Arnold, counsel
for Petitioner Bryant Boudoin, documents or information produced by the Federal Bureau of
Investigation relative to identities of people and vehicles observed in an FBI surveillance and
investigation of activity at 525 7 Warwick Drive, Marrero, LA 70072 and the owner of the property,
William Donohue during May 17, 2007~May 31, 2007 and May 2l-May 31, 2008 (FBI File
Number 281D-NO-71570-302) as identified by counsel for Boudoin in a review of said file
conducted on January 8, 2019.”

5. "Protected material" for purposes of this protective order is defined as any Record initially
prepared by the FBI and currently maintained Within the official custody and control of

the FBI. This includes documents provided to counsel for Petitioner as referred to in Paragraph 4.

6. Protected material, and any and all information contained in or derived from that

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material, shall be used only by counsel for the Petitioner listed in paragraph 4 of this Order for the
sole purpose of the Underlying Actions (including in depositions, trial, or other court proceedings)
and shall not be disclosed, in any manner whatsoever, to anyone for any other purpose, without
modification of this Order, with the exception of those listed in Paragraph Seven (7).

7. Protected material and any copies thereof, and the information contained therein, may be
disclosed only to (and used by, in accordance with this Order):

a. The Petitioner, Petitioner's attorneys, and persons regularly employed by the Petitioner’s
attorneys;

b. Other parties to the Underlying Action and their attorneys and persons regularly
employed by those attorneys;

c. The courts (including, as the case may be, appellate courts) in any proceeding in the
Underlying Action and the courts' personnel, including court reporters;

d. Third parties whose testimonies are taken in the Underlying Action by deposition or
otherwise, but only to the extent necessary to elicit testimony concerning protected

material; and

e. Consultants and expert witnesses retained by the parties in any of the Underlying
Actions, only if necessary, in connection with an expert opinion or testimony.

8. Should the Petitioner wish to disclose the protected materials to any person other than those
indicated in paragraph 7, or for any purpose other than in connection with the litigation of the
Underlying Action, counsel for the Petitioner must first meet and confer with the undersigned
Assistant United States Attorney ("AUSA"), who may authorize such disclosure in writing. If
necessary, the Petitioner may, on motion, seek modification of this Protective Order by the Court.
9. In the event that any protected material is submitted in pleadings, motions or in any other
manner to the courts in the Underlying Action, used in evidence presented to the courts in the
Underlying Action, or referred to in any deposition or referred to in any hearing or trial before the

courts in the Underlying Action, the parties in the Underlying Action shall take appropriate steps

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to maintain the confidentiality of the protected material to the greatest extent possible, including,
when appropriate, redactions of personally identifiable information and/or submissions of the
documents or information under seal.

10. The designation or non-designation of any material as protected material shall not constitute a
waiver of any party's assertion that the material is either covered or not covered by this Protective
Order.

11. In the event FBI Agent Todd Schleim is authorized to testify by deposition in connection
with the Underlying Action under governing Department of Justice regulations, this Protective
Order applies to Agent Shcleim’s deposition or other testimony.

12. Unless directed otherwise by the undersigned AUSA, all individuals to whom protected
material is disclosed pursuant to this Order shall return any and all protected material and copies
thereof to counsel for the United States before the termination of the Underlying Action, or when
they are no longer a party to, or assigned or retained to work on, the Underlying

Action, whichever occurs first.

13. Unless directed otherwise by the undersigned AUSA, protected material and all copies
thereof must be returned to the United States Attorney, 650 Poydras Street, New Orleans,
Louisiana 70130, within 30 days after the termination of the Underlying Action, including any
appeals. Any document created by the Petitioner that contains or reflects protected material shall
be destroyed within a reasonable period of time after the Underlying Action are terminated The
Petitioner shall certify to the destruction of all Such documents within 30 days of the termination
of the Underlying Action.

14. Nothing in this protective order affects the rights of counsel to discuss relevant information

contained in the protected material with their client.

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15. This protective order does not constitute an admission by any party regarding, or a ruling
on the question of, whether any particular material is properly discoverable or admissible, and it
does not constitute any ruling on any particular objection to the production or admissibility of any
material.

16. Nothing in this Protective order shall prevent the disclosure as required by law or

` compelled by any court, or restrict a party's use of materials produced by that party.

 

 

 

Signed this day of , 2019.

UNITED STATES MAGISTRATE JUDGE
Approved
PETE .STRASSER

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